          Case 2:19-cv-06814-DSF-KS              Document 15           Filed 10/24/19        Page 1 of 2 Page ID
 Name and address:                                      #:91
Greenberg Traurig, LLP
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Tel: 310-586-7700; Fax: 310-586-7800
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:

ACQUISITION MANAGEMENT, INC.                                       2:19-cv-06814-DSF-KS
                                                    PLAINTIFF(S)
                               v.

RETREAVER, INC., and Does 1-5                                                     NOTICE OF APPEARANCE OR
                                                                                  WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior appearance.
To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an attorney's CM/ECF
login and password to file this form will expedite the addition of that attorney to the docket as counsel of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the attorney
being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least one
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the only
member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the case, but
the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III, and IV of
this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):


Name: Nina D. Boyajian                                                              CA Bar Number: 246415
Firm or agency: Greenberg Traurig, LLP
Address: 1840 Century Park East, Suite 1900, Los Angeles, CA 90067-2121

Telephone Number:       310-586-7700                                  Fax Number: 310-586-7800
Email: BoyajianN@gtlaw.com
Counsel of record for the following party or parties: Without waiver of Defendant Retreaver, Inc.'s objections to the
Court's personal jurisdiction over it, Ms. Boyajian specially appears as counsel of record for Defendant Retreaver, Inc.


G-123 (1/16)                          NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                          Page 1 of 2

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          Case 2:19-cv-06814-DSF-KS               Document 15          Filed 10/24/19        Page 2 of 2 Page ID
                                                         #:92
SECTION II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
       The attorney listed above has already appeared as counsel of record in this case and should have been added to the
□
       docket. The date of the attorney's first appearance in this case:                          .
       The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
□      this attorney's firm or agency have previously appeared in the case.
IZI    The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
       of this attorney's firm or agency have previously appeared in the case.
        By order of the court dated                             in case number                               . (see attached
□
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
       This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
□      U.S.C. § 1407 from the                       District of                          , where it was assigned case number
                                 . The attorney listed above is counsel of record in this case in the transferee district, and is
       permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
       admission to practice pro hac vice and without the appointment of local counsel.
       On                            , the attorney listed above was granted permission to appear in this case pro hac vice
□      before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
       the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:

         □ USAO □ FPDO           □ CJA Appointment □ Pro Bono □ Retained
SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET

Please select one of the following options:

       The attorney named above has already been relieved by the Court as counsel of record in this case and should
□
       have been removed from the docket. Date of the order relieving this attorney:                                .

       Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
□      named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
       party or parties indicated.
       (Note: if you are removing yourself from the docket of this case as a result of separating from a firm or agency, you
       should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (“Notice of Change of Attorney Business or Contact
       Information”), concerning your obligations to notify the Clerk and parties of changes in your business or contact
       information.)
       The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
□
       filing. Date party was dismissed:                                  .

       The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
□
       filed:                          .

SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.

      Date: October 24, 2019                           Signature:/s/ Ninan D. Boyajian
                                                      Name:      Nina D. Boyajian

G-123 (1/16)                          NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                          Page 2 of 2

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